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IN THE UNITED STATES DISTRICT cOURT F'LED --- °-c-

FoR THE WESTERN DISTRICT oF TENNESSEE _
WESTERN Dl\/ISION 95 JUL 26 PH 3- h`l

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Master File No. 04-277 l -DV

This Document Relates To:
DiStrict Judge Bemice B. Donald

All Actions Magistrate Judge Diane K. Vescovo

-BRDZEDSBORDER GRANTING AGREED MOTION OF DEFENDANTS MUELLER
INDUSTRIES, INC., WIELAND METALS, INC., OUTOKUMPU COPPER (U.S.A.),
INC.., AND KME AMERICA INC. FOR ADDITIONAL TIME IN WHICH TO ANSWER

The Cou.rt having considered the Motion of Defendants Mueller Industries, Inc., Wieland
Metals, Inc., Outokumpu Copper (U.S.A.), Inc., and KME America Inc. (collectively, the
“Moving Defendants”) for Additional Time in Which to Answer the Consolidated Complaint and

the memorandum in Support thereof and finding it to be well taken,

IT IS HEREBY ORDERED THAT the Motion of the Moving Defendants for Additional

Time in Which to Answer is granted. The Moving Defendants time to answer the consolidated

complaint is extended to and including August 26, 2005.

U/< wl K L/éOM/V

Magistrate Judge Diane K. Vescovo

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ENTERED THIS 3(§ day of \g% ,2005

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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a copy of the foregoing was duly served on
counsel for plaintiff in this action on July 25, 2005, by delivery to the following by the method
indicated:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 135 in
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